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4    Attorney for:
     DASSANY KEOPHIMANH
5
6
7                        IN THE UNITED STATES DISTRICT COURT
8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,     )         CASE NO.    2:10-CR-00042 MCE
                                   )
11                  Plaintiff,     )         STIPULATION AND ORDER TO MODIFY
                                   )         CONDITIONS OF PRETRIAL RELEASE
12        v.                       )
                                   )
13   DASSANY KEOPHIMANH, et. al., )
                                   )
14                  Defendants.    )
     ______________________________)
15
16
17                                     Stipulation
18        The parties, through undersigned counsel, stipulate that item six
19   of the “Conditions of Release” (document number 23 of the docket)for
20   DASSANY KEOPHIMANH is to be modified as follows:
21        You shall refrain from ANY use of alcohol or any use of a
          narcotic drug or other controlled substance without a
22        prescription by a licensed medical practitioner; and you
          shall notify Pretrial Services immediately of any prescribed
23        medication(s). However, medicinal marijuana, prescribed or
          not, may not be used.
24
          The parties further stipulate that DASSANY KEOPHIMANH as been
25
     advised of this change and that she agrees to this change as a
26
     condition of her pretrial release.
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     / / /
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1         The prosecutor has authorized the defense counsel for DASSANY
2    KEOPHIMANH to sign this stipulation on his behalf.
3
4    DATED: November 12, 2010                   BENJAMIN WAGNER
                                                United States Attorney
5
6                                      by       /s/Scott N. Cameron, for
                                                Jason Hitt
7                                               Assistant U.S. Attorney
8
     DATED: November 12, 2010
9                                      by       /s/Scott N. Cameron
                                                Scott N. Cameron
10                                              Counsel for DASSANY KEOPHIMANH
11
          IT IS SO ORDERED.
12
13   Dated: November 17, 2010

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                                        _____________________________
15
                                        MORRISON C. ENGLAND, JR.
16                                      UNITED STATES DISTRICT JUDGE

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